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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------ X
                                      :
 UNITED STATES OF AMERICA             :
                                      :
                 -v-                  :                    16cr273 (DLC)
                                      :
 EFRAIN SANCHEZ,                      :                        ORDER
                                      :
                        Defendant.    :
                                      :
 ------------------------------------ X

DENISE COTE, District Judge:

     In a motion filed on October 16, 2020, Efrain Sanchez,

proceeding pro se, moved this Court for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A).          Accordingly, it is

hereby

     ORDERED that the Government shall file any response to the

October 16 motion by November 13, 2020.

     SO ORDERED:

Dated:       New York, New York
             October 20, 2020


                                             __________________________
                                                     DENISE COTE
                                            United States District Judge
      Case 1:16-cr-00273-DLC Document 470 Filed 10/20/20 Page 2 of 2



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